    RECEIVED
           Case: 21-3031                      Document: 16-7             Filed: 09/30/2021            Page: 1
       9/30/2021
DEBORAH S. HUNT, Clerk




                                                           REFERRALFORh{


            * .{Yl, LrtcLw ftor* pcsirio,Ltl ?-d$ fl--D u.. tf t 4t t
            fmDtoYeel                                                                                 *r,^,,:   !!'    o   >   l' 'rr c ?
           Y*u are beir:g referred to the EMPLOYEE ASSISTANCE FROGR.AM (EAP) becarse of the csncerns noted
           belsw. EAP $erviees are confidential, in eomplia$ce with thc law. Your supervisor will be told oniy whether
           you kept the appointment, and whether you complied with the EAP recammendafions. Your supervisor will
           r:ot be tald what was discussed Bnless you epecifically authorize it and sign a release af icformxti+n
           speeifyixg the informatiori to be released. Informafisn from EA *ray be shared u,.ithout a releass and
           authoriralion in respcnse to Efate or federaX statutelregulation {e.g" Homicidal/suieid*l ideation: child and
           elder abuse/neglect), a court +rdered subpoena or an offficial investigation by a government ageney,


              fr    A Tier I Mandatory Referral has been made {o EAP for the following rcason:
                    E    Fitness for Dury
                    n    Violent, hostile, or reckless behavi*r that endaagers the safety of others or that c&uses othcrs to
                         ferar for their safety
                    n    Reasonable suspicion trfdrug/alcohsl use including evidence ofdrug diversion.

          Flease phone EAF at 116-844-494E        ts co$firm your setrednled ap;mintrnent on
          *******+++***!t***!***************rt  t +*******{s**d.**********+!ts*+**'*!a(rE,l.*r+****+++*++*'l.r}*.Its{r*
               E A Tier 2 Mandatory Referral has been made to EAP for the folltwing job performance concern{s):
                    tr   Attendauce issue$.
                    tr   Conflictive wnrk reladonship
                    tr   Deterioratingjobperformance
                    tl   Other

          *{rrF*+*+***+#*++***{.*,!.****+**i}*+**!ts+*!***!t ri*******+*!F!f r}*******tl.*****+**********++*******
          Please phone EAP at Z16'-844-4948 u"ithin 5 business d*ys of today's date, t* schedule an appointmenl.

          Explanation ofcounseling, anscdotal, correctiye actio*s or other eonc€rns relative ts the absve-checked
          c*ncer*$:

          My superr.isor  hns explained the reason for this EAF referral. I uaderstand that my supervisor will bc *orified
          whether I keep my appointme*i and rvhether I comply with the EAF recarnmendaiians. I have been given a
          copy of this farm.

          Employee                                                                               n**,J-#S==-t T.
          Supervisor Signat
                                                                                                        q Vt)-LyJ .?J           -l 1
          EAP Ctunselor Signature    :
                                                                                                                i,,


                   Emplayee attended EAP session                               Employee did not attend EAP sessior:

                   Employee complied                                           Employee did n<tt comply


         HR 85 - Ernployee Assis*once Progrcrur
         Owner: Hurnon Resources Deportment
         Revised Novernber2013
         P<rge 5 of 5
                                       Case: 21-3031              Document: 16-7        Filed: 09/30/2021          Page: 2
        From: Jody Pickle,   PhD     Fax: {888} 829-2326            To: Jtrf Fupon     Fax: {216; ?01-5125     Page   2 of4   07128120t74:19PM


  !

                     |anv PrcxrE, PFr,D.n LLC
  s



 e.'.
 a
 Q

 l
 !
 6
 e
                             Fitness for Duty Evaluation

 j                           Employee: Michelle Rose
+                            Date of Birth: January LZ, 1974
!                            Ilate of Evaluation: Jroly 27 , 7Al7
3
R                            Referral Source: JiII Fulton, LISW, LIH IiAF
 a
 f
 g
 g                           Referral Question & Backgrountl Information: Michelle Rose is a 43-year-old, tlivorced woman rvho
                             was rof€rred for fitness for duty svaluaiian secondary to an email she sent to her supervisor that said,
 =                           'Cindy, I thir& I'm ready to commit suicide." Alteurpts were made to cortact her by telephone. The policc
J5_                          were dispalched to her home for a safety check. Ms. Rose told the police that she made a mistake and
6
                             inappropriate Domtnarrt bec*use she vras veqy frcstrated with matters at work. She has no history of suicidal
=.
3.                           ideation or mental health treatment. She had no inlention of harming herself that day.
e-.:
a                            Ms. Rose has worked as a practice manager for Kent Knauer, MD for the past seven years in the Mentor
o.
a'                           ambulatory office. She has also worked downtown at the UH main campus for 10 years. She indicated that
                             she was always paid salary for Dr. Knauer as a practice firanager. University Hoepitals changod her pay
                             struchrrs along with cffice manageis fr*m salary to hourly basod on an aniicipated labor law ehange. This
                             has changed herbenefits and ability to take timc off. In addition, she used to work many hours a week over
                             the 40 hour limit- When she works overtime now, Dr. Knauer is charged for the additional time. She does
                             not believc that is fair fbr him. She also beliwcs that she makes too much money to quali$r for the pay
                             structure change and thst she is a practics manager and not an omce manag€r. She has been trying to rectify
           ':l
                             the situatic,, with Univrmity Flospitals and has not been successful. She admits that she has been angry
                             and may be causing herself ccnsideratrly rnore stress than shg needs at this time,

                             Social History; Ms. Rose was bom and raised in Clcveland Ohio. She discovered when sho was older that
                             her sistcr is her half-siste.r and that she had brothers that were given up for adoption long ago. She described
 .     .   :,'.i;
                             a good childhood and that she was a good sfudent in school. She married a man that she has known since
 .'...'.:                    she was the agc of 12- 'Itre marriage lasted nine years and ended in divorce ofEcially in 2003. He is an
 i. - .:!
                             attomey at the Cloveland Clinic. She has ns childrffr. She is currently involved in a long-term. stable
  . " ..'a                   relationship.
 :.:          .,:


                            Ms. ltosc has multiple medical problems including fibromyalgia, +oflunon variable immune deficiency,
 :. -;:t
       ,.-                  cluster headaches, migraine, IBS, and bilateral lower extremity edema. She is prescribed pravastatin 40 mg
                            q.d., ranitidine 300 mg BID, Dexilant 30 mg BID, cyclobenzaprine 10 mg PRN, IC furosemide 40 mg BID,
  ,...'.1                   IC Klcr-Con M20 daily, Adderall ?0 mgBID, Nabametone 500 mg BID, Xtampza ER 27 mg BID, Hizentra
    ! '.i;1
                            25 g Q2 weeks, Savella 5S mg BID, verapamil 180 mg daily, tramadol 50 mg PRN, ibuprofen 800 mg PRN,
 , :a.l+                    prednisone 20 mg PRN, pilocarpine 5 mg two pills TID, and Movantik 25 mg PRN, pure CBD tincture 100
  :a:.,.                    mg 15 drops daily.
I:      ..'.j
      ._:.-t.a
       .'..   i'
 '-,'.s                     Ms, Rose indicated that she has no history of mental health treatment cr significant symptoms. She has
                            anver been hospitalized for mental hcalth reasons nor has she been prescribed antidepressant medication or
:l;.*                       anti -anxiefy medi cine.

                            Menlal Status Examination: Ms. Rose arrived on time and tmaccompanied for the evaluation. She was
                            appropriatcly dressed and groomed. She was alert and orientsd for persoq time, place, and situation. She
     ';'t:'s
':.::..




                    "{r8o
                            Barcxsl:rr"t.E Ro.tir.     Surc rr5                                                               Pnorur: (+*o) 546-oo,18
      vlr..d        iiarcxstr i-t-E, Ol'{ 44r +,                                                                                Fex: (888)Bz8-z-:e$
i3.tij
                    ;\l.qrr: PO Box 6-i4, Aunona. OH 44zoz                                                               ionv. Prcnr-r(!c.rlrr r.co.rr
                                                   Case: 21-3031               Document: 16-7     Filed: 09/30/2021              Page: 3
      Fronr: Jody Pickle,       PhD           Fax: (88S) 8?+2326                To: Jill FuEon   Fax: f216; ?01-5125      Page   3 of 4   0?E8I2017 4:19 PM



 T                              l,'itness For           l)ufy
a
                                Micl:elle Rose
                                Iuly ??, 2OI7
                                Page 2
o
a
='
o                               was arr/ar6 that shc wa$ bsing asstsBsed fsr fitness for duty due to the suicidal comment that she made in an
l
n
N
6                               smail to her supervisor. She was embarra*sed and chagrined at her behavior. She stated that she realized it
                                was inapflroflriate and that she acied impulsively. Shc feels even worss becarre of a r€ecn! suieide at
{a                              University Hospitals Rainbow Babitrs and Children's Hospital and she is aware that it is not a topic to be
I                               taken lightly. Her affect was appropriate with the exception of her underlyiBg anger. She was allowed to
S
N                               vent for a period of time and then redirectEd tan ard her level of stress and how she is managing iL ShE vsas
!
 =                              able to accept this redirection once she had vented. She is cxtremely frustrated. We discussed her
ifi
 o                              ernployer's right to change her pay and her benefits and that chrfirie anger is not healthy for her given her
o                               stress related coqrdilions- She reluctantly agreed-
=
E                                                                                                                                         Validity indicators
6                               Ilersonality Assessment; Ms. Rose approached rheMMPI-Z, RFin                    a aonsistsntmannEr.
I                           rcveal that she wa.s able to read, comprehend, and respond deliberately to the test items. She produced a
                            fully valid and interpretable result. Persons with similar test results report various vague somatic or bodily
                            complaints including fatigue, headache pairq dizzinass or weakness. They are stress reactive and prone lo
3
a                           *ngry outbur:sts. Ms. Rose did not endorse any of the items that suggests suicidal thinking or behaviors on
a                               lhis   as.s   essmenl bat{ery-
o
o
                            Summary r& Recommendatians: Michelle Rcse is a 43-year-old divorced woman who has invssted a
                            significant amount of hcr tirne and energy into managing the praotice of Dr. Knauer. She has worked lengthy
                            lrours over the past seven y€ars and is emotioaally invested in the success of tlre practice. Dr. Knauer has
                            been reportedly very pleased with her perfcrnanse and deponds oa her to help make his business profitable.
                            As part of thp restructruing of pay sche&{es for University Hp*pikls ofClevele*d, &t[s. Rose's pay $kuoalrc
                            was changed to hourly, This has resulled in her reportedly losing some sick time, charging Dr. Knauer for
                            lrcr ovcfiime, and other changos that are upsetting to Ms. Rose- This is personal for her. She feels somewhal
                            insulted by the way she qras trEated by the hospital system. She feels she has been a dedicatEd and loya1
                            employee who has worked cxtra hard and this has not besn acknowledged.

                            Ms. Itose is amenable to working on her reacfion to the current situation. She is leaving for vacatioa for a
                            fcw days and was provided a method to practice progressive muscle relaxation while she is gono. It was
                            rrcommended that she practice twi$e a day lbr two weeks, 20 mirutes at a time. In addition, when she
                            rcturns, she should participate in individual Fsychothsrapy and stress maaagement training to learn how to
                            balance her life and manage herself so that she does not increase her medical problems due to stress at work.
                            At this timc Ms. Rose rneets criteria for an adjusfinent disorder and would benef,t from brief cowse of
                            i   ndivi dual psych                o   therapy-

                            It is my opinion rhal Michellq Rose is currently frt for duty and can return to work when she raturns fiom
                            hcr vacation next wcck.

                            Thank you for allowing me lo participale in tlre assessment of this very pleasant employee.

                                                   /\
                            i'-fu:J/afa'fi
                            vf!               il

                            Jo6/ I'icklo, I'h.D.
                            Clinical Neuropsyoholcgis t
